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                         No. 22-13315-X
            ________________________________________
         IN THE UNITED STATES COURT OF APPEALS
                FOR THE ELEVENTH CIRCUIT
            ________________________________________

CONSUMERS’ RESEARCH, CAUSE BASED COMMERCE, INC.,
EDWARD J. BLUM, KERSTEN CONWAY, SUZANNE BETTAC,
                     ET AL.,
                                        Petitioners,
                       v.

  FEDERAL COMMUNICATIONS COMMISSION, UNITED
                STATES OF AMERICA,
                                                 Respondents.
                ______________________________________________________________________________________________________________________________________________________________________________________



          Petition for Review of an Order of the
          Federal Communications Commission
                     Agency No. 96-45                                                                      _
            _______________________________________________________________________________________________________________________________________________________________________________________________



      RESPONSE TO SUPPLEMENTAL AUTHORITIES
             _____________________________________________________________________________________________________________________________________________________________________________________________




                                                                                                      R. Trent McCotter
                                                                                                       Counsel of Record
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                                                                                                      Michael Buschbacher
                                                                                                      Jared M. Kelson
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                                                                                                      Counsel for Petitioners
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Consumers’ Research v. FCC, No. 22-13315-X

           CERTIFICATE OF INTERESTED PERSONS AND
            CORPORATE DISCLOSURE STATEMENT
      Pursuant to Federal Rule of Appellate Procedure 26.1, Eleventh
Circuit Rules 26.1-1 through 26.1-3, Petitioners provide this Certificate
of Interested Persons and Corporate Disclosure Statement. To the best of
Petitioners’ knowledge, the following persons and entities may have an
interest in the outcome of this case:
Baller, James
Barthold, Corbin
Bayly, Joseph
Beelaert, Jeffrey S.
Benton Institute for Broadband & Society.
Berry, Jonathan
Bettac, Suzanne
Blum, Edward J.
Boyden Gray & Associates
Buschbacher, Michael
Carr, James M.
Cause Based Commerce, Inc.
Center for Media Justice (d/b/a MediaJustice).
Chessen, Rick C.
Competitive Carriers Association.
Competitive Enterprise Institute
Consumers’ Research
Conway, Kersten
Crews, Adam G.
DeMuth, Christopher C.
Deutsch, Elizabeth B.
Feder, Samuel L.
Federal Communications Commission
Free State Foundation
Frieden, Robert
Furchtgott-Roth, Harold
Gibbs, Lynn
Gibbs, Paul
Goldberg, Neal M.

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Goodheart, Rebekah P.
Gotting, Eric P.
Gray, C. Boyden
Greve, Michael S.
Hellman, Matthew S.
HWG LLP
Jenner & Block LLP
Keller and Heckman LLP
Kelson, Jared M.
Kirby, Kwang Ja
Kirby, Tom
Kull, Robert
Langlinais, Jonathan A.
Lewis, Jacob M.
May, Randolph J.
McCotter, R. Trent
Morris, Steven F.
Murray, Brian W.
National Digital Inclusion Alliance.
National Telecommunications Cooperative Association (d/b/a NTCA –
The Rural Broadband Association).
NCTA, The Internet & Television Association
Neal, Jason
Roth, Deanna
Roth, Jeremy
Schools, Health & Libraries Broadband Coalition.
Schwartzmann, Andrew Jay
Sinzdak, Gerard J.
Stein Mitchell Beato & Missner, LLP
Stern, Mark B.
Tatel, Jennifer
TechFreedom
Thomas, Rhonda
United States of America
USTelecom – The Broadband Association.
Wilkinson, Barker & Knauer LLP



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      To the best of Petitioners’ knowledge, no other persons, associations
of persons, firms, partnerships, or corporations have an interest in the
outcome of this case or appeal.
                            /s/ R. Trent McCotter
                            R. Trent McCotter
                            Counsel of Record for Petitioners




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                              June 29, 2023

Honorable David J. Smith
Clerk of the Court
U.S. Court of Appeals for the Eleventh Circuit

     Re: Response to Respondents’ Rule 28(j) Letter in Consumers’
Research et al. v. FCC et al., No. 22-13315-X

     Dear Mr. Smith:

     On June 29, Respondents filed a Rule 28(j) letter arguing that a
recent FCC Office of Managing Director order demonstrates that the FCC
maintains “active oversight” of private company USAC’s actions. See
ECF No. 75.

     That argument is unpersuasive for several reasons.

      First, the order merely makes a ministerial adjustment to USAC’s
calculations to reflect a carryover of unspent funds. Consistent with its
prior practice, the FCC is not “independently perform[ing] its reviewing,
analytical and judgmental function,” and it certainly is not
“participat[ing] actively and significantly in the preparation and drafting
process” of the private company USAC’s quarterly contribution factor
calculations. Sierra Club v. Lynn, 502 F.2d 43, 59 (5th Cir. 1974);
Reply.Br.48.

      Second, the order that Respondents cite was not even issued or
directly approved by the FCC Commissioners themselves. The FCC used
its unique “deemed approved” mechanism to adopt the order without the
Commissioners ever lifting a finger, as occurs with every quarterly
contribution factor. There remains a total absence of evidence that the
Commissioners themselves ever review this process. See Reply.Br.45–48.

      Third, the order that Respondents cite is not even from the
quarterly contribution factor at issue in this case—it is from nearly a year
later. It therefore provides no evidence that the FCC satisfied its review
obligations here. See Sierra Club, 502 F.2d at 59.


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      Fourth, an agency cannot delegate legislative or executive powers
to a private entity and then attempt to avoid nondelegation challenges
by pointing to the agency’s self-imposed discretion to rein in the private
company on the back end. See, e.g., Whitman v. Am. Trucking Ass’ns, 531
U.S. 457, 473 (2001); TechFreedom.Br.15–17.


                                    Respectfully,

                                    /S/ R. TRENT MCCOTTER

                                    Counsel of Record for Petitioners

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                 CERTIFICATE OF COMPLIANCE

     I hereby certify that this letter complies with the type-volume

limitations of Federal Rule of Appellate Procedure 28(j) because it

contains 272 words. This brief complies with the typeface and type style

requirements of Federal Rule of Appellate Procedure Rule 32(a)(5)–(6)

because it has been prepared in a proportionally spaced typeface using

Microsoft Word in Century Schoolbook and 14-point font.

Dated: June 29, 2023                    /s/ R. Trent McCotter
                                        R. Trent McCotter
                                        Boyden Gray & Associates
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                    CERTIFICATE OF SERVICE

     I hereby certify that on this date, I electronically filed the foregoing

document with the Clerk of this Court by using the CM/ECF system,

which will serve all parties automatically.

Dated: June 29, 2023                     /s/ R. Trent McCotter
                                         R. Trent McCotter
                                         Boyden Gray & Associates
                                         801 17th St NW, #350
                                         Washington, DC 20006
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